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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION

                       Case No.: 4:22-cv-00059-HLM-WEJ

WILLIAM RIGSBY,

     PLAINTIFF,
V.

HEALTHCARE REVENUE
RECOVERY GROUP, LLC,


   DEFENDANTS.
_____________________________________/

        JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COMES NOW, Plaintiff, William Rigsby, and Defendant, Healthcare

Revenue Recovery Group, LLC. (“the Parties”), by and through their respective

undersigned counsel, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, hereby file this Joint Stipulation of Dismissal with Prejudice of the

above-styled action. Plaintiff and Defendant shall each bear their own attorneys’ fees

and costs.

DATED: September 30, 2022

/s/ Matthew T. Berry                  /s/ Ernest H. Kohlmyer, III
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                                   Attorneys for Defendant


                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been electronically

filed on September 30, 2022, with the Clerk of the Court by using the electronic

filing system. I further certify that the foregoing has been sent via electronic

transmission to the following: Matthew T. Berry, Esq., at matt@mattberry.com.

                                  /s/ Ernest H. Kohlmyer, III
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